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              UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                       PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                                  Case No. 3:20cr62/TKW

RODNEY JEROME MCNABB
______________________________/

                    ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate

Judge, to which there have been no timely objections, the plea of guilty of the

Defendant, RODNEY JEROME MCNABB, to Count One, Count Two, and Count

Three of the Indictment is hereby ACCEPTED. All parties shall appear before this

Court for sentencing as directed.

      DONE and ORDERED this 6th day of October, 2021.

                                    T. Kent Wetherell, II
                                T. KENT WETHERELL, II
                                UNITED STATES DISTRICT JUDGE
